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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

Dean Plummer, individually and on behalf of all                  3:23-cv-00307-AWT
others similarly situated,
                                 Plaintiff,                   Hon. Alvin W. Thompson

                   - against -

Electrolux Home Products, Inc.,
                                 Defendant

                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Dean Plummer notifies

 the Court that he dismisses this action with prejudice. Plaintiff respectfully requests that the Court

 enter final judgment dismissing this action and administratively close the matter. Each side shall

 bear its own attorneys’ fees and costs.

  Dated: August 15, 2023
                                                            Respectfully submitted,

                                                            /s/Spencer Sheehan
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